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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

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                                   )
UNITED STATES OF AMERICA,          )
                                   )
            Plaintiff,             )
                                   )
VS.                                )                 CR. NO. 1:17-10052-2-STA
                                   )
BRYNDARIOUS MARKEASE FUTRELL, )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on September 19, 2017, Assistant United States Attorney, Taylor
Eskridge, appearing for the Government and the defendant, Bryndarious Markease Futrell, appearing in
person, and with counsel, Christina Wimbley.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 4 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, DECEMBER 19, 2017 at 11:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 19th day of September, 2017.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
